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       ADAMS, J.

                                      UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

       UNITED STATES OF AMERICA,                        )
                                                        )     CASE NO. 1:10CR405
                       Plaintiff,                       )
                                                        )
               v.                                       )     JUDGE JOHN R. ADAMS
                                                        )
       CHRISTOPHER UGOCHUKWU,                           )     ORDER
                                                        )
                       Defendant.                       )
                                                        )


       This matter appears before the Court on a motion to continue the sentencing scheduled in

this matter for July 26, 2011. Specifically, Defendant seeks a ninety-day extension of the current

sentencing hearing. Defendant also seeks to extend the time for completion of the presentence

report. Both aspects of the motion are DENIED.

       New counsel for Defendant entered his notice of appearance on May 31, 2011. Five days

prior to that entry, the Court continued Defendant’s sentencing from July 6 to July 26, 2011, in

order to facilitate this change in counsel.

       Counsel’s request for an extension is based upon two arguments. First, counsel claims a

need to familiarize himself with the underlying facts of the case. Second, counsel asserts that

there may be a need to file a Fed. R. Crim. P. 29 motion. Neither argument supports a

continuance.

       As noted above, counsel first appeared on May 31, 2001. Nearly 60 days will have passed

before the date of sentencing in this matter. Even now, there are 40 days before the currently
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scheduled sentencing. Such a time frame is more than sufficient for counsel to prepare for

sentencing. Additionally, it is unclear how a Rule 29 motion could be filed in this matter. The

jury returned its guilty verdicts on April 15, 2011. No request for an extension of Rule 29’s 14

day deadline was ever made.      Accordingly, as it appears that any such motion would be

time-barred, the research for such a motion cannot form the basis of a continuance. The motion to

continue sentencing is DENIED.

       Finally, Defendant seeks an extension of the time to complete the presentence report. The

Court has learned through its probation officer that Defendant’s interview for his presentence

report was scheduled earlier in this week. Prior to that interview, Defendant did not seek an

extension.   Instead, Defendant simply declined to be interviewed.         Since that time, the

presentence report has been completed. As such, Defendant’s request to extend that date is

untimely and DENIED.

       IT IS SO ORDERED.



June 17, 2011 ___________                   /s/ John R. Adams_____________________
Dated                                               JUDGE JOHN R. ADAMS
                                                    United States District Judge
